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January 13, 2021


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       We write to advise the Court that the parties have conferred with respect to trial
scheduling in light of the worsening pandemic and the motion to quash or modify the
government’s trial subpoenas filed on January 8, 2021, by four Chicago-based witnesses.

         The parties are in agreement that the trial can only go forward as scheduled on February
17, 2021 with the witnesses the government intends to call if certain witnesses are permitted to
testify by video. Given the defendant’s objection to video testimony by those witnesses and the
possibility that the pandemic-related obstacles to witness travel will be alleviated later in the
year, the parties jointly request the trial be adjourned, that the motion to quash or modify be held
in abeyance, and that the parties address trial scheduling with the Court on January 26, 2021 in
conjunction with the previously scheduled oral argument on a motion in limine.

        The parties further agree that the deadlines previously set by the Court with respect to the
disclosure of exhibit and witness lists shall remain in effect.
                                 The parties' application is GRANTED. The motion to quash (Dkt. No. 145) is
Respectfully submitted,          DENIED without prejudice and oral argument on the motion (Dkt. No. 147)
                                 is CANCELLED.
/s/ Paul H. Schoeman
                                Oral argument on the motion in limine as to Catherine A. Aguirre and Blake
Paul H. Schoeman                J. Paulson, originally scheduled to occur immediately following oral
Darren A. LaVerne
                                argument on the motion to quash (Dkt. No. 148), will now proceed on
                                January 26, 2021, at 2:00 p.m., on the following conference line:
cc:       All counsel (via ECF)
                                888-363-4749, access code: 5583333.

                                      The trial scheduled for February 17, 2021, is ADJOURNED sine die.
                                      Immediately following oral argument on the motion in limine, the Court will
                                      hear the parties' positions on trial scheduling.

                                      The Clerk of Court is respectfully directed to close the motions at Docket
                                      Nos. 145 and 153.

KRAMER LEVIN NAFTALIS & FRANKEL LLP   Dated: January 13, 2021            NEW YORK | SILICON VALLEY | PARIS
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